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                      UNITED STATES DISTRICT COURT
                           DISTRICT OF NEVADA

                                            :
DR. JOHN THOMPSON,                          :
                                              Civil Action No.: ______
                                            :
                    Plaintiff,              :
      v.                                    :
                                            :
WILLIAMS & FUDGE, INC.,                     :
                                              COMPLAINT
                                            :
                    Defendant.              :
                                            :
                                            :

      For this Complaint, the Plaintiff, DR. JOHN THOMPSON, by undersigned

counsel, states as follows:


                                  JURISDICTION
      1.

Collection Practices Act, 15 U.                                     by the Defendant

and its agents in its illegal efforts to collect a consumer debt and jurisdiction is

therefore proper in this Court pursuant to 28 U.S.C. § 1331.

      2.     Supplemental jurisdiction exists pursuant to 28 U.S.C. § 1367.

      3.     Venue is proper in the U.S. District Court for the District of Nevada

pursuant to 28 U.S.C. § 1391(b), as Defendant transacts business in the State of

Nevada.

                                      PARTIES
      4.     The Plaintiff, DR. JOHN THOMPSON
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indivi

defined by 15 U.S.C. § 1692a(3).

         5.    Defendant WILLIAMS & FUDGE, INC.            FUDGE

business in the State of Nevada as a business entity operating as a collection



         6.    Does 1-

FUDGE and whose identities are currently unknown to the Plaintiff. One or more

of the Collectors may be joined as parties once their identities are disclosed

through discovery.

         7.    FUDGE at all times acted by and through one or more of the

Collectors.

               ALLEGATIONS APPLICABLE TO ALL COUNTS

A. The Debt


         8.    Plaintiff                                                         New

Mexico Higher Education Department                       for student loans.

         9.    The Debt was based on a written agreement or promissory note.

         10.   Accordingly, the Debt was subject to the enforcement limitations

enumerated in NRS 11.190(1)(a), which provides that and action upon a contract,

obligation or liability founded upon an instrument in writing be commenced within

6 years.

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      11.    The Debt arose from services provided by the Creditor which were

primarily for family, personal or household purposes and which meets the



      12.    The Debt was purchased, assigned or transferred to FUDGE for

collection, or FUDGE was employed by the Creditor to collect the Debt.

      13.    FUDGE attempted to collect the Debt and, as such, engaged in




B. FUDGE Engages in Illegal Collection Tactics


                                      FACTS
      14.    On February 9, 2017, the

collection phone call from Ralene Lenox             , a representitive of FUDGE,

alledging that Plaintiff owed the Debt and seeking to collect same. Rathern than

just seeking location information from Mrs. Marks, Lenox disclosed that she was

                                               husband and sought to obtain

payment on the Debt from Mrs. Marks. Mrs. Marks, shocked and surprised about

the collection efforts, hung up and told her husband about the collection call from

Lenox.

      15.    Soon after, on or about February 10, 2017, FUDGE sent a collection

letter to Plaintiff attempting to collect $137,721.57 for two accounts with the New

Mexico Higher Education Department                  .
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         16.   On or about March 7, 2017, Plaintiff sent a written request to FUDGE

requesting FUDGE verify the Debt and demanding that FUDGE cease all

collection communications with the Plaintiff and his wife.

         17.   Since the Plaintiff understood that all his student loans (including the



effort

scam.

         18.   Indeed, Plaintiff received no notice of any kind relating to the Debt

since 2007 (when he believed he made his final payment on the Debt), so the

FUDGE collection was deeply concerning.

         19.   Even more concerning was that the original amount of the Debt was

only $45,000 and FUDGE was now seeking to collect over three times that amount

(which, again     he believed was already paid in full).

         20.   At the time FUDGE tried to collect the Debt in March 2017, no

payments were made on the Debt for more than six (6) years. Accordingly, the

Debt was time-barred and no longer legally enforceable under Nevada law.

         21.   The Debt was also time-

limitations as well. Specifically, New Mexico Statutes (NMS) Chapter 37, Section

37-1-

exchange or other contract in writing shall be brought within six years.


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      22.    FUDGE therefore knew or should have known that the Debt was time

barred when is attempted to collect the Debt at all times herein.

      23.    Notwithstanding the foregoing, FUDGE attempted to mislead the

Plaintiff into repaying the Debt which he was no longer responsible to pay.

      24.    Damages have resulted as does this suit.


C. Plaintiff Suffered Actual Damages


      25.    The Plaintiff has suffered and continues to suffer actual damages as a

result of FUDGE

      26.    As a direct consequence of FUDGE                                      , the

Plaintiff suffered and continues to suffer from anger, anxiety, emotional distress,

and frustration.


D. Respondeat Superior Liability


      27.    The acts and omissions of FUDGE, and the other debt collectors

employed as agents by FUDGE who communicated with Plaintiff as more further

described herein, were committed within the time and space limits of their agency

relationship with their principal, Defendant FUDGE.

      28.    The acts and omissions by FUDGE and these other debt collectors were

incidental to, or of the same general nature as, the responsibilities these agents were

authorized to perform by FUDGE in collecting consumer debts.
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      29.    By committing these acts and omissions against Plaintiff, FUDGE and

these other debt collectors were motivated to benefit their principal, Defendant

FUDGE.

      30.    FUDGE is therefore liable to Plaintiff through the Doctrine of

Respondeat Superior for the intentional and negligent acts, errors, and omissions

done in violation of state and federal law by its collection employees, including but

not limited to violations of the FDCPA and Nevada tort law, in their attempts to

collect a debt from Plaintiff.

                             COUNT I
            VIOLATIONS OF THE FDCPA - 15 U.S.C. § 1692, et seq.

      31.    The Plaintiff incorporates by reference all of the above paragraphs of

this Complaint as though fully stated herein.

      32.                conduct violated 15 U.S.C. § 1692c(b) in that Defendant



or a credit bureau in an attempt to collect a debt. Specifically, FUDGE (through its



communications about the Debt with a 3rd party.

      33.

Defendants engaged in false, deceptive or misleading behavior in connection with

the collection of a debt. Specifically, by seeking to collect on an obligation which

was no longer subject to collection or enforcement.
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      34.                  conduct violated 15 U.S.C. § 1692e(2) in that FUDGE

misrepresented the amount of the Debt owed by Plaintiff and attempted to have

Plaintiff pay more than the Debt owed to Creditor, $0.

      35.                                                             f and f(1) in that

Defendants attempted to collect an amount not authorized by the agreement

between Plaintiff and Creditor and it was unfair trickery to try to collect the Debt

without disclosing the unenforceable nature of the underlying obligation.

      36.      The foregoing acts and omissions of the Defendants constitute

numerous and multiple violations of the FDCPA, including every one of the above-

cited provisions.

      37.

violations.

      38.      The Plaintiff has been required to retain the undersigned as counsel to

protect his legal rights to prosecute this cause of action, and is therefore entitled to




                                PRAYER FOR RELIEF
      WHEREFORE, the Plaintiff prays that judgment be entered against the

Defendants awarding the Plaintiff:


        1. for actual damages including, but not limited to, the emotional distress

              the Plaintiff has suffered (and continues to suffer) as a result of the
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         intentional, reckless, and/or negligent FDCPA violations pursuant to 15

         U.S.C. § 1692k(a)(1);

      2. for statutory damages of $1,000.00 pursuant to 15 U.S.C.

         §1692k(a)(2)(A);

      3. for                               ; and

      4. for any other and further relief that the Court may deem just and proper.

           TRIAL BY JURY DEMANDED ON ALL COUNTS

Dated: May 8, 2017

                                    Respectfully submitted,

                                    By /s/David H. Krieger, Esq.

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